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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter    11


EDGEMARC tsNERGY HOLDINGS, LLC,                               Case   No. l9-11104 (J'l'D)
et a\.,1
                                                              (Jointly Administered)
                              Debtors.


ETC NORTHEAST PIPELINE, LLC,

           Plaintiff and Counterclaim Defendant,

           V                                                  Adv. Pro. No.: 19-50268 (JTD)

EM ENERGY PENNSYLVANI A, LLC,

           Defendant and Counterclaim Plaintiff.

GSCP       VI EDGEMARC HOLDINGS, LLC,
et al.,

                              Plaintiff(s),
                                                              Adv. Pro. No.: 19-50269 (JTD)
           V


ETC NORTHEAST PIPELINE, LLC,

                              Defendant(s).


 NOTICE OF AGENDA FOR THE HEÄRING ON NOVEMBER 5,2019, AT 11:00 4.M.2
(PREVAILING EASTERN TIME), BEFORE THE HONORABLE JOHN T. DORSEY AT
     THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
    DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5TH FLOOR,
           collRTRooM No. 5- wil,  GTON. DELAWARE 19801


I The Debtors in these
                     cases, along with the last four digits of each Debtor's federal tax identification number, are:
EdgeMarc Energy Holdings, LLC (6900), EM Energy Manager, LLC (5334), EM Energy Employer, LLC (8026),
EM Energy Ohio, LLC (6935), EM Energy Pennsylvania, LLC (1541), EM Energy West Virginia,LLC (3771),EM
Energy Keystone, LLC (7506), EM Energy Midstream Ohio, LLC (1268), and EM Energy Midsheam Pennsylvania,
LLC (3963). The Debtors' corporate headquarters and mailing address is 1800 Maìn Street, Suite 220, Canonsburg,
PA 15317.
2 Any parfy who wishes to attend telephonically is required to make arrangements prior to
                                                                                          the hearing through
CourtCall by telephone (866-582-.687 8) or by facsimile (866-533-2946).



{ r 239.002-W00s8258.3   }
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MATTER GOING FORWARD:

I         Motion of the Official Committee for an Order Pursuant to Bankruptcy Code Section
          1ll2(b) Converting these Cases to Cases Under Chapter 7 of the Bankruptcy Code [D.1.
          647,filed on October 9,20191

          Response Deadline: October 29,2019 at 4:00 p.m. (ET); extended to October 3I,2079 at
          4:00 p.m. (ET) for the Debtors and to November 1,2019 at 4:00 p.m. (ET) for the Office
          of the United States Trustee

          Responses Received:

          A          Objection   of   Rover Pipeline LLC     to Motion of the Official     Committee of
                     Unsecured Creditors for an Order Pursuant to Bankruptcy Code Section 1112(b)
                     Converting these Cases to Cases Under Chapter 7 of the Bankruptcy Code [D.I.
                     701, filed on October 29,20191

          B          Statement and Objection of E1'C Northeast Pipeline LLC to Motion of the
                     Official Committee of Unsecured Creditors for an Order Pursuant to Bankruptcy
                     Code Section I112(b) Converting these Cases to Cases Under Chapter 7 of the
                     Bankruptcy Code [D.I. 702,f:I,.ed on October 29,20191

          C          Keybank National Association's Response to Motion of the Off,rcial Committee of
                     Unsecured Creditors for an Order Pursuant to Bankruptcy Code Section 1112(b)
                     Converting these Cases to Cases Under Chapter 7 of the Bankruptcy Code [D.I.
                     703, filed on October 29,20191

          D          Reply of the Official Committee of Unsecured Creditors in Support of its Motion
                     for an Order Pursuant to Bankruptcy Code Sections 105(a) and 1112(b)
                     Converting 'Ihese Cases to Cases Under Chapter 7 of the Bankruptcy Code [D.L
                     708, filed on October 31,2191

          E.         Debtors' Response to the Motion of the Official Committee of Unsecured
                     Creditors for an Order Pursuant to Bankruptcy Code Section 1112(b) Converting
                     these Cases to Cases Under Chapter 7 of the Bankruptcy Code [D.I. 709, filed on
                     October 31,20191

          F-         United States Trustee's Limited Objection to the Motion of the Off,rcial
                     Committee for an Order Pursuant to Bankruptcy Code Section 1112(b)
                     Converting these Cases to Cases Under Chapter 7 of the Bankruptcy Code [D.I.
                     710, filed on November   l,20l9f
          Related Documents

          G          Notice of Hearing on Motion of the Official Committee for an Order Pursuant to
                     Bankruptcy Code Section lll2(b) Converting these Cases to Cases Under
                     Chapter 7 of the Bankuptcy Code [D.I. 649, filed on October 9,2019]




{ r 239.002-W00s82s8.3 )                                2
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          Status: This matter is going forward.

STATUS CONFERENCE IN ADV. PRO. NO. 19.50269 (JTD):

2.        Order Scheduling Status Conference [Adv. D.1.49, entered on October 4,20191

          Status: This matter is going forward.


Dated: November 1,2019                             LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                                    J-^J'b*'^--
                                                   AE'am G. Landis (No. 3a07)
                                                   Keni K. Mumford (No. a186)
                                                   Kimberly A. Brown (No. 5138)
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                                                   -and-

                                                  DAVIS POLK & \üARDWELL LLP
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                                                  Lara Samet Buchwald (admittedpro hac vice)
                                                  Aryeh E. Falk (admittedpro hac vice)
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                                                  Counsel to the Debtors
                                                  and Debtor s -In-P os se s sion




                                                      a
{ 1239.002-W00s8258.3}                                J
